08-13555-mg   Doc 21125-1   Filed 10/24/11 Entered 10/24/11 11:55:30   Exhibit A
                                   Pg 1 of 16




                      EXHIBIT A
          08-13555-mg            Doc 21125-1                       Filed 10/24/11 Entered 10/24/11 11:55:30              Exhibit A
                                                                               Pg 2 of 16
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------x
                                                                                        :
In re                                                                                   :       Chapter 11 Case No.
                                                                                        :
LEHMAN BROTHERS HOLDINGS INC., et al., :                                                        08-13555 (JMP)
                                                                                        :
                                             Debtors.                                   :       (Jointly Administered)
                                                                                        :
------------------------------------------------------------------x
LBH LPSNTC 08-22-2011 (MERGE2,TXNUM2) 4000068738 BAR(23) MAIL ID *** 000051162338 *** *** BSIUSE: 22076
WHITTIER LONG/SHORT FUND LLC
1600 HUNTINGTON DRIVE
SOUTH PASADENA, CA 91030




            THIS IS A NOTICE REGARDING YOUR CLAIM(S). YOU MUST READ IT
    AND TAKE ACTION IF YOU DISAGREE WITH THE PROPOSED ALLOWED CLAIM AMOUNT.

                               NOTICE OF PROPOSED ALLOWED CLAIM AMOUNT

Creditor Name and Address:                                                 Claim Number             Proposed Allowed Claim Amount
WHITTIER LONG/SHORT FUND LLC
1600 HUNTINGTON DRIVE                                                            22061                                          $0.00
SOUTH PASADENA, CA 91030




               PLEASE TAKE NOTICE that, on August 10, 2011, the United States Bankruptcy Court for the
Southern District of New York (the “Bankruptcy Court”) entered the Order Approving the Procedures for
Determining the Allowed Amount of Claims Filed Based on Structured Securities Issued or Guaranteed by
Lehman Brothers Holdings Inc. [Docket No. 19120] (the “Order”) which provides for procedures for the
determination of the allowed amount of the portion of the claim referenced above (the “Claim”) that is based on
a structured security for purposes of voting and distributions under the debtors’ (the “Debtors”)1 proposed
chapter 11 plan (the “Plan”) in the above-referenced case.

               Pursuant to the procedures approved in the Order, Lehman Brothers Holdings Inc. (“LBHI”)
proposes that the allowed amount of the portion of the Claim that is based on a structured security shall be the
amount set forth above under the heading “PROPOSED ALLOWED CLAIM AMOUNT.” The Debtors
calculated the Proposed Allowed Claim Amount in accordance with the Structured Securities Valuation
Methodologies, a copy of which is available for review on www.lehman-docket.com, and is also attached to the
motion [Docket No. 18127] (the “Motion”) related to the Order. A detailed calculation of the Proposed
Allowed Claim Amount in accordance with the Structured Securities Valuation Methodologies is included on
Exhibit A annexed hereto. The Proposed Allowed Claim Amount does not have any affect on the portion of
your claim that is not based on a structured security.

                The Official Committee of Unsecured Creditors of LBHI and its affiliated debtors filed a
statement relating to the Motion. The Statement of Official Committee of Unsecured Creditors In Response to

1
 A list of the Debtors, along with the last four digits of each Debtor’s federal tax identification number, is available on the Debtors’
website at http://www.lehman-docket.com.
        08-13555-mg       Doc 21125-1       Filed 10/24/11 Entered 10/24/11 11:55:30            Exhibit A
                                                   Pg 3 of 16



Debtors’ Amended Motion Pursuant to Sections 105(a) and 502(b) of the Bankruptcy Code and Bankruptcy
Rule 9019 for Approval of Procedures For Determining the Allowed Amount of Claims Filed Based on
Structured Securities Issued or Guaranteed by Lehman Brothers Holdings Inc, [Docket No. 19042] is available
at www.lehman-docket.com on the “Case Information” page.

               If you do NOT dispute or disagree with the Proposed Allowed Claim Amount for your Claim,
then you do NOT need to file a written response and your claim will be allowed in such amount for the
purposes of voting and distributions under the Plan.

              If you DO dispute or disagree with the Proposed Allowed Claim Amount for your Claim,
then you MUST deliver a written response (a “Response”) so that such Response is actually received no
later than 4:00 p.m. October 25, 2011 (the “Response Deadline”) by (i) Lehman Brothers Holdings Inc.,
1271 Avenue of the Americas, New York, NY 10020 (Attn: Holly Clack and Tina Pederson), (ii) Weil
Gotshal & Manges LLP, 767 Fifth Avenue, New York, New York 10153 (Attn: Alfredo R. Perez, Esq.
and Mark Bernstein, Esq.) and (iii) Milbank, Tweed, Hadley and McCloy LLP, 1 Chase Manhattan
Plaza, New York, New York 10005 (Attn: Evan R. Fleck, Esq. and Matthew Brod, Esq.).

                Your Response, if any, must contain at a minimum the following: (i) the name of the claimant;
(ii) the claim number that is the subject of the Response; (iii) a concise statement setting forth the grounds for
such Response; (iv) the address(es) to which LBHI must return any reply to your Response, if different from
that presented in the proof of claim; and (v) the name, address, and telephone number of the person (which
may be you or your legal representative) possessing ultimate authority to reconcile, settle, or otherwise resolve
the claim on your behalf.

          IF YOU DO NOT DELIVER A RESPONSE BY THE RESPONSE DEADLINE, YOU
WILL BE DEEMED TO HAVE CONSENTED TO THE PORTION OF YOUR CLAIM BASED ON A
STRUCTURED SECURITY BEING ALLOWED FOR PURPOSES OF VOTING AND
DISTRIBUTIONS UNDER THE PLAN IN THE PROPOSED ALLOWED CLAIM AMOUNT. THE
MOTION DOES NOT HAVE ANY AFFECT ON THE PORTION OF YOUR CLAIM THAT IS NOT
BASED ON A STRUCTURED SECURITY.

         IF YOU SUBMIT A RESPONSE AND THE DEBTORS AND YOU ARE UNABLE TO
RESOLVE ANY DISPUTES REGARDING THE PROPOSED ALLOWED CLAIM AMOUNT, THE
MOTION WILL BE DEEMED AN OBJECTION TO YOUR CLAIM. THE DEBTORS MAY SEEK
TO HAVE SUCH OBJECTION TO YOUR CLAIM RESOLVED EITHER BY THE COURT OR
THROUGH THE COURT-APPROVED MEDIATION PROCEDURES.

           CLAIMANTS SHOULD NOT CONTACT THE CLERK OF THE BANKRUPTCY COURT
TO DISCUSS THE MERITS OF THEIR CLAIMS.

DATED:         August 24, 2011
               New York, New York
               08-13555-mg            Doc 21125-1            Filed 10/24/11 Entered 10/24/11 11:55:30                            Exhibit A
                                                                    Pg 4 of 16



                                                                        Exhibit A                                Claim # 22061
                                                                                                                 WHITTIER LONG/SHORT FUND LLC
                                              Calculation of Proposed Allowed Claim Amount

        A                  B                   C                      D                        E                        F                       G
   Structured         Blocking            Maximum             Percentage of   Aggregate Amount            Claimant’s                       PROPOSED
  Security, by        Number              Allowable         Notional Amount    Distributable to          Percentage of                     ALLOWED
      ISIN                                 Amount 2        for which Blocking Claims Based on          Notional Amount                       CLAIM
                                                             Numbers were       Relevant ISIN        for Which Blocking                     AMOUNT
                                                           Issued by Clearing (Equals the Product of    Numbers were                   (Equals the Product of
                                                                Agencies        C x D with slight     Issued by Clearing                  E x F with slight
                                                                                differences due to                                       differences due to
                                                                                    rounding)
                                                                                                           Agencies                          rounding)

524935AD5          NONE                  $2,073,758.33           100.0000% 3              $2,073,758.33            100.0000% 4                      $0.00 5,6

                                                                                   Aggregate Proposed Allowed Claim Amount:                         $0.00

                                                           Claim Amount, as filed (portion based on Structured Security only):             $2,076,078.00




2 Calculated in accordance with the Structured Securities Valuation Methodologies.
3 This claim is for a non-Lehman Programs Security note, so blocking numbers were not required. Instead, this figure represents the total sum of the
  claims’ notional value or position for this note as a percentage of LBHI's September 14, 2008 outstanding notional amount or position.
4 This claim is for a non-Lehman Programs Security note, so blocking numbers were not required. Instead, this figure represents the claimant's percentage
  of notional amount or position.
5 The Debtors do not have enough information to determine whether the note is a Fair Market Value Note, Par Par Note or Zero Coupon Note (as such
  terms are defined in the Structured Securities Valuation Methodologies). This is necessary to enable the Debtors to provide the amount of this claim. As
  such, your claim value is currently $0. Should you provide the appropriate information, your claim could be assessed at your relative portion of the
  Maximum Alllowable Amount. Please provide any note support, e.g., final terms, pricing supplement, etc., to EPIQ via email at
  lehman@epiqsystems.com or fax to (646) 282-2501.
6 At this time, the Debtors do not have sufficient information to verify proof of ownership of your claim. See letter dated and mailed on July 19, 2011
  requesting proof of ownership. As such, your claim value is currently $0. Should you provide the appropriate information, your claim could be assessed
  at your relative portion of the Maximum Alllowable Amount. Please request that the nominee certificate be filled out and sent in or provide an account
  statement for the period ending September 30, 2009 to EPIQ via email at lehman@epiqsystems.com or fax to (646) 282-2501.
          08-13555-mg            Doc 21125-1                       Filed 10/24/11 Entered 10/24/11 11:55:30              Exhibit A
                                                                               Pg 5 of 16
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------x
                                                                                        :
In re                                                                                   :       Chapter 11 Case No.
                                                                                        :
LEHMAN BROTHERS HOLDINGS INC., et al., :                                                        08-13555 (JMP)
                                                                                        :
                                             Debtors.                                   :       (Jointly Administered)
                                                                                        :
------------------------------------------------------------------x
LBH LPSNTC 08-22-2011 (MERGE2,TXNUM2) 4000068576 BAR(23) MAIL ID *** 000051162337 *** *** BSIUSE: 22075
WHITTIER LONG/SHORT FUND LLC
1600 HUNTINGTON DRIVE
SOUTH PASADENA, CA 91030




            THIS IS A NOTICE REGARDING YOUR CLAIM(S). YOU MUST READ IT
    AND TAKE ACTION IF YOU DISAGREE WITH THE PROPOSED ALLOWED CLAIM AMOUNT.

                               NOTICE OF PROPOSED ALLOWED CLAIM AMOUNT

Creditor Name and Address:                                                 Claim Number             Proposed Allowed Claim Amount
WHITTIER LONG/SHORT FUND LLC
1600 HUNTINGTON DRIVE                                                            22062                                          $0.00
SOUTH PASADENA, CA 91030




               PLEASE TAKE NOTICE that, on August 10, 2011, the United States Bankruptcy Court for the
Southern District of New York (the “Bankruptcy Court”) entered the Order Approving the Procedures for
Determining the Allowed Amount of Claims Filed Based on Structured Securities Issued or Guaranteed by
Lehman Brothers Holdings Inc. [Docket No. 19120] (the “Order”) which provides for procedures for the
determination of the allowed amount of the portion of the claim referenced above (the “Claim”) that is based on
a structured security for purposes of voting and distributions under the debtors’ (the “Debtors”)1 proposed
chapter 11 plan (the “Plan”) in the above-referenced case.

               Pursuant to the procedures approved in the Order, Lehman Brothers Holdings Inc. (“LBHI”)
proposes that the allowed amount of the portion of the Claim that is based on a structured security shall be the
amount set forth above under the heading “PROPOSED ALLOWED CLAIM AMOUNT.” The Debtors
calculated the Proposed Allowed Claim Amount in accordance with the Structured Securities Valuation
Methodologies, a copy of which is available for review on www.lehman-docket.com, and is also attached to the
motion [Docket No. 18127] (the “Motion”) related to the Order. A detailed calculation of the Proposed
Allowed Claim Amount in accordance with the Structured Securities Valuation Methodologies is included on
Exhibit A annexed hereto. The Proposed Allowed Claim Amount does not have any affect on the portion of
your claim that is not based on a structured security.

                The Official Committee of Unsecured Creditors of LBHI and its affiliated debtors filed a
statement relating to the Motion. The Statement of Official Committee of Unsecured Creditors In Response to

1
 A list of the Debtors, along with the last four digits of each Debtor’s federal tax identification number, is available on the Debtors’
website at http://www.lehman-docket.com.
        08-13555-mg       Doc 21125-1       Filed 10/24/11 Entered 10/24/11 11:55:30            Exhibit A
                                                   Pg 6 of 16



Debtors’ Amended Motion Pursuant to Sections 105(a) and 502(b) of the Bankruptcy Code and Bankruptcy
Rule 9019 for Approval of Procedures For Determining the Allowed Amount of Claims Filed Based on
Structured Securities Issued or Guaranteed by Lehman Brothers Holdings Inc, [Docket No. 19042] is available
at www.lehman-docket.com on the “Case Information” page.

               If you do NOT dispute or disagree with the Proposed Allowed Claim Amount for your Claim,
then you do NOT need to file a written response and your claim will be allowed in such amount for the
purposes of voting and distributions under the Plan.

              If you DO dispute or disagree with the Proposed Allowed Claim Amount for your Claim,
then you MUST deliver a written response (a “Response”) so that such Response is actually received no
later than 4:00 p.m. October 25, 2011 (the “Response Deadline”) by (i) Lehman Brothers Holdings Inc.,
1271 Avenue of the Americas, New York, NY 10020 (Attn: Holly Clack and Tina Pederson), (ii) Weil
Gotshal & Manges LLP, 767 Fifth Avenue, New York, New York 10153 (Attn: Alfredo R. Perez, Esq.
and Mark Bernstein, Esq.) and (iii) Milbank, Tweed, Hadley and McCloy LLP, 1 Chase Manhattan
Plaza, New York, New York 10005 (Attn: Evan R. Fleck, Esq. and Matthew Brod, Esq.).

                Your Response, if any, must contain at a minimum the following: (i) the name of the claimant;
(ii) the claim number that is the subject of the Response; (iii) a concise statement setting forth the grounds for
such Response; (iv) the address(es) to which LBHI must return any reply to your Response, if different from
that presented in the proof of claim; and (v) the name, address, and telephone number of the person (which
may be you or your legal representative) possessing ultimate authority to reconcile, settle, or otherwise resolve
the claim on your behalf.

          IF YOU DO NOT DELIVER A RESPONSE BY THE RESPONSE DEADLINE, YOU
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DISTRIBUTIONS UNDER THE PLAN IN THE PROPOSED ALLOWED CLAIM AMOUNT. THE
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         IF YOU SUBMIT A RESPONSE AND THE DEBTORS AND YOU ARE UNABLE TO
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MOTION WILL BE DEEMED AN OBJECTION TO YOUR CLAIM. THE DEBTORS MAY SEEK
TO HAVE SUCH OBJECTION TO YOUR CLAIM RESOLVED EITHER BY THE COURT OR
THROUGH THE COURT-APPROVED MEDIATION PROCEDURES.

           CLAIMANTS SHOULD NOT CONTACT THE CLERK OF THE BANKRUPTCY COURT
TO DISCUSS THE MERITS OF THEIR CLAIMS.

DATED:         August 24, 2011
               New York, New York
               08-13555-mg            Doc 21125-1            Filed 10/24/11 Entered 10/24/11 11:55:30                            Exhibit A
                                                                    Pg 7 of 16



                                                                        Exhibit A                                Claim # 22062
                                                                                                                 WHITTIER LONG/SHORT FUND LLC
                                              Calculation of Proposed Allowed Claim Amount

        A                  B                   C                      D                        E                        F                       G
   Structured         Blocking            Maximum             Percentage of   Aggregate Amount            Claimant’s                       PROPOSED
  Security, by        Number              Allowable         Notional Amount    Distributable to          Percentage of                     ALLOWED
      ISIN                                 Amount 2        for which Blocking Claims Based on          Notional Amount                       CLAIM
                                                             Numbers were       Relevant ISIN        for Which Blocking                     AMOUNT
                                                           Issued by Clearing (Equals the Product of    Numbers were                   (Equals the Product of
                                                                Agencies        C x D with slight     Issued by Clearing                  E x F with slight
                                                                                differences due to                                       differences due to
                                                                                    rounding)
                                                                                                           Agencies                          rounding)

524935AE3          NONE                  $1,031,776.39           100.0000% 3              $1,031,776.39            100.0000% 4                      $0.00 5,6

                                                                                   Aggregate Proposed Allowed Claim Amount:                         $0.00

                                                           Claim Amount, as filed (portion based on Structured Security only):             $1,003,183.00




2 Calculated in accordance with the Structured Securities Valuation Methodologies.
3 This claim is for a non-Lehman Programs Security note, so blocking numbers were not required. Instead, this figure represents the total sum of the
  claims’ notional value or position for this note as a percentage of LBHI's September 14, 2008 outstanding notional amount or position.
4 This claim is for a non-Lehman Programs Security note, so blocking numbers were not required. Instead, this figure represents the claimant's percentage
  of notional amount or position.
5 The Debtors do not have enough information to determine whether the note is a Fair Market Value Note, Par Par Note or Zero Coupon Note (as such
  terms are defined in the Structured Securities Valuation Methodologies). This is necessary to enable the Debtors to provide the amount of this claim. As
  such, your claim value is currently $0. Should you provide the appropriate information, your claim could be assessed at your relative portion of the
  Maximum Alllowable Amount. Please provide any note support, e.g., final terms, pricing supplement, etc., to EPIQ via email at
  lehman@epiqsystems.com or fax to (646) 282-2501.
6 At this time, the Debtors do not have sufficient information to verify proof of ownership of your claim. See letter dated and mailed on July 19, 2011
  requesting proof of ownership. As such, your claim value is currently $0. Should you provide the appropriate information, your claim could be assessed
  at your relative portion of the Maximum Alllowable Amount. Please request that the nominee certificate be filled out and sent in or provide an account
  statement for the period ending September 30, 2009 to EPIQ via email at lehman@epiqsystems.com or fax to (646) 282-2501.
          08-13555-mg            Doc 21125-1                       Filed 10/24/11 Entered 10/24/11 11:55:30              Exhibit A
                                                                               Pg 8 of 16
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------x
                                                                                        :
In re                                                                                   :       Chapter 11 Case No.
                                                                                        :
LEHMAN BROTHERS HOLDINGS INC., et al., :                                                        08-13555 (JMP)
                                                                                        :
                                             Debtors.                                   :       (Jointly Administered)
                                                                                        :
------------------------------------------------------------------x
LBH LPSNTC 08-22-2011 (MERGE2,TXNUM2) 4000068092 BAR(23) MAIL ID *** 000051162335 *** *** BSIUSE: 22073
WHITTIER LONG/SHORT FUND LLC
1600 HUNTINGTON DRIVE
SOUTH PASADENA, CA 91030




            THIS IS A NOTICE REGARDING YOUR CLAIM(S). YOU MUST READ IT
    AND TAKE ACTION IF YOU DISAGREE WITH THE PROPOSED ALLOWED CLAIM AMOUNT.

                               NOTICE OF PROPOSED ALLOWED CLAIM AMOUNT

Creditor Name and Address:                                                 Claim Number             Proposed Allowed Claim Amount
WHITTIER LONG/SHORT FUND LLC
1600 HUNTINGTON DRIVE                                                            21597                                          $0.00
SOUTH PASADENA, CA 91030




               PLEASE TAKE NOTICE that, on August 10, 2011, the United States Bankruptcy Court for the
Southern District of New York (the “Bankruptcy Court”) entered the Order Approving the Procedures for
Determining the Allowed Amount of Claims Filed Based on Structured Securities Issued or Guaranteed by
Lehman Brothers Holdings Inc. [Docket No. 19120] (the “Order”) which provides for procedures for the
determination of the allowed amount of the portion of the claim referenced above (the “Claim”) that is based on
a structured security for purposes of voting and distributions under the debtors’ (the “Debtors”)1 proposed
chapter 11 plan (the “Plan”) in the above-referenced case.

               Pursuant to the procedures approved in the Order, Lehman Brothers Holdings Inc. (“LBHI”)
proposes that the allowed amount of the portion of the Claim that is based on a structured security shall be the
amount set forth above under the heading “PROPOSED ALLOWED CLAIM AMOUNT.” The Debtors
calculated the Proposed Allowed Claim Amount in accordance with the Structured Securities Valuation
Methodologies, a copy of which is available for review on www.lehman-docket.com, and is also attached to the
motion [Docket No. 18127] (the “Motion”) related to the Order. A detailed calculation of the Proposed
Allowed Claim Amount in accordance with the Structured Securities Valuation Methodologies is included on
Exhibit A annexed hereto. The Proposed Allowed Claim Amount does not have any affect on the portion of
your claim that is not based on a structured security.

                The Official Committee of Unsecured Creditors of LBHI and its affiliated debtors filed a
statement relating to the Motion. The Statement of Official Committee of Unsecured Creditors In Response to

1
 A list of the Debtors, along with the last four digits of each Debtor’s federal tax identification number, is available on the Debtors’
website at http://www.lehman-docket.com.
        08-13555-mg       Doc 21125-1       Filed 10/24/11 Entered 10/24/11 11:55:30            Exhibit A
                                                   Pg 9 of 16



Debtors’ Amended Motion Pursuant to Sections 105(a) and 502(b) of the Bankruptcy Code and Bankruptcy
Rule 9019 for Approval of Procedures For Determining the Allowed Amount of Claims Filed Based on
Structured Securities Issued or Guaranteed by Lehman Brothers Holdings Inc, [Docket No. 19042] is available
at www.lehman-docket.com on the “Case Information” page.

               If you do NOT dispute or disagree with the Proposed Allowed Claim Amount for your Claim,
then you do NOT need to file a written response and your claim will be allowed in such amount for the
purposes of voting and distributions under the Plan.

              If you DO dispute or disagree with the Proposed Allowed Claim Amount for your Claim,
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later than 4:00 p.m. October 25, 2011 (the “Response Deadline”) by (i) Lehman Brothers Holdings Inc.,
1271 Avenue of the Americas, New York, NY 10020 (Attn: Holly Clack and Tina Pederson), (ii) Weil
Gotshal & Manges LLP, 767 Fifth Avenue, New York, New York 10153 (Attn: Alfredo R. Perez, Esq.
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Plaza, New York, New York 10005 (Attn: Evan R. Fleck, Esq. and Matthew Brod, Esq.).

                Your Response, if any, must contain at a minimum the following: (i) the name of the claimant;
(ii) the claim number that is the subject of the Response; (iii) a concise statement setting forth the grounds for
such Response; (iv) the address(es) to which LBHI must return any reply to your Response, if different from
that presented in the proof of claim; and (v) the name, address, and telephone number of the person (which
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DISTRIBUTIONS UNDER THE PLAN IN THE PROPOSED ALLOWED CLAIM AMOUNT. THE
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BASED ON A STRUCTURED SECURITY.

         IF YOU SUBMIT A RESPONSE AND THE DEBTORS AND YOU ARE UNABLE TO
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TO HAVE SUCH OBJECTION TO YOUR CLAIM RESOLVED EITHER BY THE COURT OR
THROUGH THE COURT-APPROVED MEDIATION PROCEDURES.

           CLAIMANTS SHOULD NOT CONTACT THE CLERK OF THE BANKRUPTCY COURT
TO DISCUSS THE MERITS OF THEIR CLAIMS.

DATED:         August 24, 2011
               New York, New York
               08-13555-mg            Doc 21125-1            Filed 10/24/11 Entered 10/24/11 11:55:30                            Exhibit A
                                                                   Pg 10 of 16



                                                                        Exhibit A                                Claim # 21597
                                                                                                                 WHITTIER LONG/SHORT FUND LLC
                                              Calculation of Proposed Allowed Claim Amount

        A                  B                   C                      D                        E                        F                       G
   Structured         Blocking            Maximum             Percentage of   Aggregate Amount            Claimant’s                       PROPOSED
  Security, by        Number              Allowable         Notional Amount    Distributable to          Percentage of                     ALLOWED
      ISIN                                 Amount 2        for which Blocking Claims Based on          Notional Amount                       CLAIM
                                                             Numbers were       Relevant ISIN        for Which Blocking                     AMOUNT
                                                           Issued by Clearing (Equals the Product of    Numbers were                   (Equals the Product of
                                                                Agencies        C x D with slight     Issued by Clearing                  E x F with slight
                                                                                differences due to                                       differences due to
                                                                                    rounding)
                                                                                                           Agencies                          rounding)

524935AF0          NONE                  $1,037,354.17           100.0000% 3              $1,037,354.17            100.0000% 4                      $0.00 5,6

                                                                                   Aggregate Proposed Allowed Claim Amount:                         $0.00

                                                           Claim Amount, as filed (portion based on Structured Security only):             $1,003,816.00




2 Calculated in accordance with the Structured Securities Valuation Methodologies.
3 This claim is for a non-Lehman Programs Security note, so blocking numbers were not required. Instead, this figure represents the total sum of the
  claims’ notional value or position for this note as a percentage of LBHI's September 14, 2008 outstanding notional amount or position.
4 This claim is for a non-Lehman Programs Security note, so blocking numbers were not required. Instead, this figure represents the claimant's percentage
  of notional amount or position.
5 The Debtors do not have enough information to determine whether the note is a Fair Market Value Note, Par Par Note or Zero Coupon Note (as such
  terms are defined in the Structured Securities Valuation Methodologies). This is necessary to enable the Debtors to provide the amount of this claim. As
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  Maximum Alllowable Amount. Please provide any note support, e.g., final terms, pricing supplement, etc., to EPIQ via email at
  lehman@epiqsystems.com or fax to (646) 282-2501.
6 At this time, the Debtors do not have sufficient information to verify proof of ownership of your claim. See letter dated and mailed on July 19, 2011
  requesting proof of ownership. As such, your claim value is currently $0. Should you provide the appropriate information, your claim could be assessed
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          08-13555-mg            Doc 21125-1                       Filed 10/24/11 Entered 10/24/11 11:55:30              Exhibit A
                                                                              Pg 11 of 16
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------x
                                                                                        :
In re                                                                                   :       Chapter 11 Case No.
                                                                                        :
LEHMAN BROTHERS HOLDINGS INC., et al., :                                                        08-13555 (JMP)
                                                                                        :
                                             Debtors.                                   :       (Jointly Administered)
                                                                                        :
------------------------------------------------------------------x
LBH LPSNTC 08-22-2011 (MERGE2,TXNUM2) 4000068094 BAR(23) MAIL ID *** 000051162336 *** *** BSIUSE: 22074
WHITTIER LONG/SHORT FUND LLC
1600 HUNTINGTON DRIVE
SOUTH PASADENA, CA 91030




            THIS IS A NOTICE REGARDING YOUR CLAIM(S). YOU MUST READ IT
    AND TAKE ACTION IF YOU DISAGREE WITH THE PROPOSED ALLOWED CLAIM AMOUNT.

                               NOTICE OF PROPOSED ALLOWED CLAIM AMOUNT

Creditor Name and Address:                                                 Claim Number             Proposed Allowed Claim Amount
WHITTIER LONG/SHORT FUND LLC
1600 HUNTINGTON DRIVE                                                            21598                                          $0.00
SOUTH PASADENA, CA 91030




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Determining the Allowed Amount of Claims Filed Based on Structured Securities Issued or Guaranteed by
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calculated the Proposed Allowed Claim Amount in accordance with the Structured Securities Valuation
Methodologies, a copy of which is available for review on www.lehman-docket.com, and is also attached to the
motion [Docket No. 18127] (the “Motion”) related to the Order. A detailed calculation of the Proposed
Allowed Claim Amount in accordance with the Structured Securities Valuation Methodologies is included on
Exhibit A annexed hereto. The Proposed Allowed Claim Amount does not have any affect on the portion of
your claim that is not based on a structured security.

                The Official Committee of Unsecured Creditors of LBHI and its affiliated debtors filed a
statement relating to the Motion. The Statement of Official Committee of Unsecured Creditors In Response to

1
 A list of the Debtors, along with the last four digits of each Debtor’s federal tax identification number, is available on the Debtors’
website at http://www.lehman-docket.com.
        08-13555-mg       Doc 21125-1       Filed 10/24/11 Entered 10/24/11 11:55:30            Exhibit A
                                                  Pg 12 of 16



Debtors’ Amended Motion Pursuant to Sections 105(a) and 502(b) of the Bankruptcy Code and Bankruptcy
Rule 9019 for Approval of Procedures For Determining the Allowed Amount of Claims Filed Based on
Structured Securities Issued or Guaranteed by Lehman Brothers Holdings Inc, [Docket No. 19042] is available
at www.lehman-docket.com on the “Case Information” page.

               If you do NOT dispute or disagree with the Proposed Allowed Claim Amount for your Claim,
then you do NOT need to file a written response and your claim will be allowed in such amount for the
purposes of voting and distributions under the Plan.

              If you DO dispute or disagree with the Proposed Allowed Claim Amount for your Claim,
then you MUST deliver a written response (a “Response”) so that such Response is actually received no
later than 4:00 p.m. October 25, 2011 (the “Response Deadline”) by (i) Lehman Brothers Holdings Inc.,
1271 Avenue of the Americas, New York, NY 10020 (Attn: Holly Clack and Tina Pederson), (ii) Weil
Gotshal & Manges LLP, 767 Fifth Avenue, New York, New York 10153 (Attn: Alfredo R. Perez, Esq.
and Mark Bernstein, Esq.) and (iii) Milbank, Tweed, Hadley and McCloy LLP, 1 Chase Manhattan
Plaza, New York, New York 10005 (Attn: Evan R. Fleck, Esq. and Matthew Brod, Esq.).

                Your Response, if any, must contain at a minimum the following: (i) the name of the claimant;
(ii) the claim number that is the subject of the Response; (iii) a concise statement setting forth the grounds for
such Response; (iv) the address(es) to which LBHI must return any reply to your Response, if different from
that presented in the proof of claim; and (v) the name, address, and telephone number of the person (which
may be you or your legal representative) possessing ultimate authority to reconcile, settle, or otherwise resolve
the claim on your behalf.

          IF YOU DO NOT DELIVER A RESPONSE BY THE RESPONSE DEADLINE, YOU
WILL BE DEEMED TO HAVE CONSENTED TO THE PORTION OF YOUR CLAIM BASED ON A
STRUCTURED SECURITY BEING ALLOWED FOR PURPOSES OF VOTING AND
DISTRIBUTIONS UNDER THE PLAN IN THE PROPOSED ALLOWED CLAIM AMOUNT. THE
MOTION DOES NOT HAVE ANY AFFECT ON THE PORTION OF YOUR CLAIM THAT IS NOT
BASED ON A STRUCTURED SECURITY.

         IF YOU SUBMIT A RESPONSE AND THE DEBTORS AND YOU ARE UNABLE TO
RESOLVE ANY DISPUTES REGARDING THE PROPOSED ALLOWED CLAIM AMOUNT, THE
MOTION WILL BE DEEMED AN OBJECTION TO YOUR CLAIM. THE DEBTORS MAY SEEK
TO HAVE SUCH OBJECTION TO YOUR CLAIM RESOLVED EITHER BY THE COURT OR
THROUGH THE COURT-APPROVED MEDIATION PROCEDURES.

           CLAIMANTS SHOULD NOT CONTACT THE CLERK OF THE BANKRUPTCY COURT
TO DISCUSS THE MERITS OF THEIR CLAIMS.

DATED:         August 24, 2011
               New York, New York
               08-13555-mg            Doc 21125-1            Filed 10/24/11 Entered 10/24/11 11:55:30                            Exhibit A
                                                                   Pg 13 of 16



                                                                        Exhibit A                                Claim # 21598
                                                                                                                 WHITTIER LONG/SHORT FUND LLC
                                              Calculation of Proposed Allowed Claim Amount

        A                  B                   C                      D                        E                        F                       G
   Structured         Blocking            Maximum             Percentage of   Aggregate Amount            Claimant’s                       PROPOSED
  Security, by        Number              Allowable         Notional Amount    Distributable to          Percentage of                     ALLOWED
      ISIN                                 Amount 2        for which Blocking Claims Based on          Notional Amount                       CLAIM
                                                             Numbers were       Relevant ISIN        for Which Blocking                     AMOUNT
                                                           Issued by Clearing (Equals the Product of    Numbers were                   (Equals the Product of
                                                                Agencies        C x D with slight     Issued by Clearing                  E x F with slight
                                                                                differences due to                                       differences due to
                                                                                    rounding)
                                                                                                           Agencies                          rounding)

524935AH6          NONE                  $1,000,000.00           100.0000% 3              $1,000,000.00            100.0000% 4                      $0.00 5,6

                                                                                   Aggregate Proposed Allowed Claim Amount:                         $0.00

                                                           Claim Amount, as filed (portion based on Structured Security only):             $1,004,767.00




2 Calculated in accordance with the Structured Securities Valuation Methodologies.
3 This claim is for a non-Lehman Programs Security note, so blocking numbers were not required. Instead, this figure represents the total sum of the
  claims’ notional value or position for this note as a percentage of LBHI's September 14, 2008 outstanding notional amount or position.
4 This claim is for a non-Lehman Programs Security note, so blocking numbers were not required. Instead, this figure represents the claimant's percentage
  of notional amount or position.
5 The Debtors do not have enough information to determine whether the note is a Fair Market Value Note, Par Par Note or Zero Coupon Note (as such
  terms are defined in the Structured Securities Valuation Methodologies). This is necessary to enable the Debtors to provide the amount of this claim. As
  such, your claim value is currently $0. Should you provide the appropriate information, your claim could be assessed at your relative portion of the
  Maximum Alllowable Amount. Please provide any note support, e.g., final terms, pricing supplement, etc., to EPIQ via email at
  lehman@epiqsystems.com or fax to (646) 282-2501.
6 At this time, the Debtors do not have sufficient information to verify proof of ownership of your claim. See letter dated and mailed on July 19, 2011
  requesting proof of ownership. As such, your claim value is currently $0. Should you provide the appropriate information, your claim could be assessed
  at your relative portion of the Maximum Alllowable Amount. Please request that the nominee certificate be filled out and sent in or provide an account
  statement for the period ending September 30, 2009 to EPIQ via email at lehman@epiqsystems.com or fax to (646) 282-2501.
          08-13555-mg            Doc 21125-1                       Filed 10/24/11 Entered 10/24/11 11:55:30              Exhibit A
                                                                              Pg 14 of 16
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------x
                                                                                        :
In re                                                                                   :       Chapter 11 Case No.
                                                                                        :
LEHMAN BROTHERS HOLDINGS INC., et al., :                                                        08-13555 (JMP)
                                                                                        :
                                             Debtors.                                   :       (Jointly Administered)
                                                                                        :
------------------------------------------------------------------x
LBH LPSNTC 08-22-2011 (MERGE2,TXNUM2) 4000071205 BAR(23) MAIL ID *** 000051162334 *** *** BSIUSE: 22072
WHITTER LONG/ SHORT FUND LLC
1600 HUNTINGTON DRIVE
SOUTH PASADENA, CA 91030




            THIS IS A NOTICE REGARDING YOUR CLAIM(S). YOU MUST READ IT
    AND TAKE ACTION IF YOU DISAGREE WITH THE PROPOSED ALLOWED CLAIM AMOUNT.

                               NOTICE OF PROPOSED ALLOWED CLAIM AMOUNT

Creditor Name and Address:                                                 Claim Number             Proposed Allowed Claim Amount
WHITTER LONG/ SHORT FUND LLC
1600 HUNTINGTON DRIVE                                                            23611                                          $0.00
SOUTH PASADENA, CA 91030




               PLEASE TAKE NOTICE that, on August 10, 2011, the United States Bankruptcy Court for the
Southern District of New York (the “Bankruptcy Court”) entered the Order Approving the Procedures for
Determining the Allowed Amount of Claims Filed Based on Structured Securities Issued or Guaranteed by
Lehman Brothers Holdings Inc. [Docket No. 19120] (the “Order”) which provides for procedures for the
determination of the allowed amount of the portion of the claim referenced above (the “Claim”) that is based on
a structured security for purposes of voting and distributions under the debtors’ (the “Debtors”)1 proposed
chapter 11 plan (the “Plan”) in the above-referenced case.

               Pursuant to the procedures approved in the Order, Lehman Brothers Holdings Inc. (“LBHI”)
proposes that the allowed amount of the portion of the Claim that is based on a structured security shall be the
amount set forth above under the heading “PROPOSED ALLOWED CLAIM AMOUNT.” The Debtors
calculated the Proposed Allowed Claim Amount in accordance with the Structured Securities Valuation
Methodologies, a copy of which is available for review on www.lehman-docket.com, and is also attached to the
motion [Docket No. 18127] (the “Motion”) related to the Order. A detailed calculation of the Proposed
Allowed Claim Amount in accordance with the Structured Securities Valuation Methodologies is included on
Exhibit A annexed hereto. The Proposed Allowed Claim Amount does not have any affect on the portion of
your claim that is not based on a structured security.

                The Official Committee of Unsecured Creditors of LBHI and its affiliated debtors filed a
statement relating to the Motion. The Statement of Official Committee of Unsecured Creditors In Response to

1
 A list of the Debtors, along with the last four digits of each Debtor’s federal tax identification number, is available on the Debtors’
website at http://www.lehman-docket.com.
        08-13555-mg       Doc 21125-1       Filed 10/24/11 Entered 10/24/11 11:55:30            Exhibit A
                                                  Pg 15 of 16



Debtors’ Amended Motion Pursuant to Sections 105(a) and 502(b) of the Bankruptcy Code and Bankruptcy
Rule 9019 for Approval of Procedures For Determining the Allowed Amount of Claims Filed Based on
Structured Securities Issued or Guaranteed by Lehman Brothers Holdings Inc, [Docket No. 19042] is available
at www.lehman-docket.com on the “Case Information” page.

               If you do NOT dispute or disagree with the Proposed Allowed Claim Amount for your Claim,
then you do NOT need to file a written response and your claim will be allowed in such amount for the
purposes of voting and distributions under the Plan.

              If you DO dispute or disagree with the Proposed Allowed Claim Amount for your Claim,
then you MUST deliver a written response (a “Response”) so that such Response is actually received no
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1271 Avenue of the Americas, New York, NY 10020 (Attn: Holly Clack and Tina Pederson), (ii) Weil
Gotshal & Manges LLP, 767 Fifth Avenue, New York, New York 10153 (Attn: Alfredo R. Perez, Esq.
and Mark Bernstein, Esq.) and (iii) Milbank, Tweed, Hadley and McCloy LLP, 1 Chase Manhattan
Plaza, New York, New York 10005 (Attn: Evan R. Fleck, Esq. and Matthew Brod, Esq.).

                Your Response, if any, must contain at a minimum the following: (i) the name of the claimant;
(ii) the claim number that is the subject of the Response; (iii) a concise statement setting forth the grounds for
such Response; (iv) the address(es) to which LBHI must return any reply to your Response, if different from
that presented in the proof of claim; and (v) the name, address, and telephone number of the person (which
may be you or your legal representative) possessing ultimate authority to reconcile, settle, or otherwise resolve
the claim on your behalf.

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WILL BE DEEMED TO HAVE CONSENTED TO THE PORTION OF YOUR CLAIM BASED ON A
STRUCTURED SECURITY BEING ALLOWED FOR PURPOSES OF VOTING AND
DISTRIBUTIONS UNDER THE PLAN IN THE PROPOSED ALLOWED CLAIM AMOUNT. THE
MOTION DOES NOT HAVE ANY AFFECT ON THE PORTION OF YOUR CLAIM THAT IS NOT
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         IF YOU SUBMIT A RESPONSE AND THE DEBTORS AND YOU ARE UNABLE TO
RESOLVE ANY DISPUTES REGARDING THE PROPOSED ALLOWED CLAIM AMOUNT, THE
MOTION WILL BE DEEMED AN OBJECTION TO YOUR CLAIM. THE DEBTORS MAY SEEK
TO HAVE SUCH OBJECTION TO YOUR CLAIM RESOLVED EITHER BY THE COURT OR
THROUGH THE COURT-APPROVED MEDIATION PROCEDURES.

           CLAIMANTS SHOULD NOT CONTACT THE CLERK OF THE BANKRUPTCY COURT
TO DISCUSS THE MERITS OF THEIR CLAIMS.

DATED:         August 24, 2011
               New York, New York
               08-13555-mg             Doc 21125-1           Filed 10/24/11 Entered 10/24/11 11:55:30                             Exhibit A
                                                                   Pg 16 of 16



                                                                        Exhibit A                                 Claim # 23611
                                                                                                                  WHITTER LONG/ SHORT FUND LLC
                                              Calculation of Proposed Allowed Claim Amount

        A                  B                   C                      D                        E                        F                        G
   Structured          Blocking           Maximum              Percentage of   Aggregate Amount            Claimant’s                      PROPOSED
  Security, by         Number             Allowable          Notional Amount    Distributable to          Percentage of                    ALLOWED
      ISIN                                 Amount 2         for which Blocking Claims Based on          Notional Amount                      CLAIM
                                                              Numbers were       Relevant ISIN        for Which Blocking                    AMOUNT
                                                            Issued by Clearing (Equals the Product of    Numbers were                   (Equals the Product of
                                                                 Agencies        C x D with slight     Issued by Clearing                  E x F with slight
                                                                                 differences due to                                       differences due to
                                                                                     rounding)
                                                                                                            Agencies                          rounding)

5249085W6           NONE                   $997,530.36            100.0000% 3                $997,530.36            100.0000% 4                      $0.00 5

                                                                                    Aggregate Proposed Allowed Claim Amount:                         $0.00

                                                           Claim Amount, as filed (portion based on Structured Security only):             $1,036,926.00




2 Calculated in accordance with the Structured Securities Valuation Methodologies.
3 This claim is for a non-Lehman Programs Security note, so blocking numbers were not required. Instead, this figure represents the total sum of the
  claims’ notional value or position for this note as a percentage of LBHI's September 14, 2008 outstanding notional amount or position.
4 This claim is for a non-Lehman Programs Security note, so blocking numbers were not required. Instead, this figure represents the claimant's percentage
  of notional amount or position.
5 At this time, the Debtors do not have sufficient information to verify proof of ownership of your claim. See letter dated and mailed on July 19, 2011
  requesting proof of ownership. As such, your claim value is currently $0. Should you provide the appropriate information, your claim could be assessed
  at your relative portion of the Maximum Alllowable Amount. Please request that the nominee certificate be filled out and sent in or provide an account
  statement for the period ending September 30, 2009 to EPIQ via email at lehman@epiqsystems.com or fax to (646) 282-2501.
